            Case 1:20-cr-00515-JMF Document 9 Filed 10/16/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

United States of America                                                           Protective Order

               v.                                                                 20 Cr. 515 (JMF)

ALAN TEJEDA-ISABEL,

                           Defendant.



       Upon the application of the United States of America, with the consent of the

undersigned counsel, and the defendants having requested discovery under Fed. R. Crim. P. 16,

the Court hereby finds and orders as follows:

       1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”),

pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s

general obligation to produce exculpatory and impeachment material in criminal cases, all of

which will be referred to herein as “disclosure material.” The Government’s disclosure material

may include material that (i) affects the privacy and confidentiality of individuals; (ii) would

impede, if prematurely disclosed, the Government’s ongoing investigation of uncharged

individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated; and (iv) is not

authorized to be disclosed to the public or disclosed beyond that which is necessary for the

defense of this criminal case.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       2.           Disclosure material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (“the defense”) other than as set forth herein, and shall be used

by the defense solely for purposes of defending this action. The defense shall not post any
            Case 1:20-cr-00515-JMF Document 9 Filed 10/16/20 Page 2 of 3




disclosure material on any Internet site or network site to which persons other than the parties

hereto have access, and shall not disclose any disclosure material to the media or any third party

except as set forth below.

       3.          Disclosure material may be disclosed by counsel to:

            (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by

or retained by counsel, as needed for purposes of defending this action;

            (b) Prospective witnesses for purposes of defending this action.

       4.          The Government may authorize, in writing, disclosure of disclosure material

beyond that otherwise permitted by this Order without further Order of this Court.

       5.          This Order does not prevent the disclosure of any disclosure material in any

hearing or trial held in this action, or to any judge or magistrate judge, for purposes of this

action. All filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

       6.          Except for disclosure material that has been made part of the record of this

case, the defense shall return to the Government or securely destroy or delete all disclosure

material, including the seized ESI disclosure material, within 30 days of the expiration of the

period for direct appeal from any verdict in the above-captioned case; the period of direct appeal

from any order dismissing any of the charges in the above-captioned case; or the granting of any

motion made on behalf of the Government dismissing any charges in the above-captioned case,

whichever date is later, subject to defense counsel’s obligation to retain client files under the

Rules of Professional Conduct. If disclosure material is provided to any prospective witnesses,

counsel shall make reasonable efforts to seek the return or destruction of such materials.


                                                 2
            Case 1:20-cr-00515-JMF Document 9 Filed 10/16/20 Page 3 of 3




       7.          The defense shall provide a copy of this Order to prospective witnesses and

persons retained by counsel to whom the defense has disclosed disclosure material. All such

persons shall be subject to the terms of this Order. Defense counsel shall maintain a record of

what information has been disclosed to which such persons.

       8.          This Order places no restriction on a defendant’s use or disclosure of ESI that

originally belonged to the defendant.

                                   Retention of Jurisdiction
       9.          The provisions of this order shall not terminate at the conclusion of this

criminal prosecution and the Court will retain jurisdiction to enforce this Order following

termination of the case.

AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney


by: _____________________________                   Date: _10/15/20____________
    Brett M. Kalikow
    Assistant United States Attorney


   ___________________________                              10/15/2020
                                                    Date: _____________________
   Marisa Cabrera
   Counsel for Alan Tejeda-Isabel


SO ORDERED:

Dated: New York, New York
       October 16
               __, 2020
                                                    ___________________________________
The Clerk of Court is directed to terminate         THE HONORABLE JESSE M. FURMAN
Doc. # 8.                                           UNITED STATES DISTRICT JUDGE
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